













Opinion issued August 19, 2004







In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00704-CV
____________

IN RE LEPOLEON L. BURTON, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator Lepoleon L. Burton filed his petition for writ of mandamus on June 11,
2004 and on July 1, 2004, we struck it because the certificate of service was
inadequate.  We gave relator until July 26, 2004 to file a conforming petition.  To this
date, relator had not filed a conforming petition.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss the proceeding for want of prosecution.
PER CURIAM
Panel consists of Justices Taft, Alcala, and Bland.


